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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

LISA COPPOLA LLC d/b/a THE COPPOLA FIRM,

Plaintiff,

Vv. Docket No.: 119-cv-678

MATTHEW K. HIGBEE, ESQ., NICHOLAS YOUNGSON,
RM MEDIA, LTD, and HIGBEE & ASSOCIATES,

Defendants.

 

VERIFIED COMPLAINT

Plaintiff, by its attorneys, The Coppola Firm, for its verified complaint against the

defendants, alleges upon information and belief:
NATURE OF ACTION

1. Plaintiff brings this action as one of the unsuspecting victims of a fraudulent
scheme in which defendants abuse the United States copyright laws by filing copyright
registrations for effortless and mundane photographs and then labeling those photos as
“free for reuse” on the Internet thereby entrapping innocent and well-intentioned people
who mistakenly believe that the “labeled for reuse” photos can be used without attribution.

2. Defendants have orchestrated this fraudulent scheme to generate
undeserved profit; typically seeking statutory damages of up to $150,000.00 unless and

until their entrapped victims agree to pay monies to one or more of the defendants.
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3.

By this scheme, defendants engage in harassing scare tactics intended to

extract money from victims who settle because they do not know how to defend

themselves.

4.

Upon information and belief, defendants have abused United States copyright

law by crafting the following entrapment scheme:

a.

First, an individual who reportedly lives in the United Kingdom takes
garden-variety photographs of text on common backgrounds such as
on a clipboard or highway sign;

Then, a copyright registration is filed with the United States
Copyright Office for the subject photos;

Once the copyright is secured, the photos are made readily available
on the Internet under the label “usage rights: free to use, share or
modify, even commercially;”

This causes the photos and their corresponding “free to use” labels to
be easily found online through the use of common search terms and
lures consumers into reasonably relying that images labeled for
reuse may in fact be reused without attribution;

Then, to maximize their profit and increase their number of victims,
defendants optimize their images so that they appear first when a
consumer searches for online images using common terms;
Consumers thereby sufficiently deceived, defendants then lie in wait
until a consumer uses the image;

Once the image is used, defendants engage their assembly-line law
firm to cash in on the consumer’s well-intended use of the image;
Defendants send to the consumer, through the United States Postal
Service, a threatening letter which demands payment (complete with
an enclosed credit card authorization to expedite payment);

Next, defendants’ so-called Claims Resolution Specialist is assigned to
process the victim’s payment;

Then, if the victim refuses to pay, defendants threaten legal action in
an attempt to extort payment from the victim;

At this point, having sufficiently intimidated a victim by their
wrongful conduct, defendants receive payment, cash their victim’s
check and move on to the next victim.
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PARTIES AND JURISDICTION

5. Lisa Coppola LLC d/b/a The Coppola Firm (hereinafter “The Coppola Firm”
or the “Firm”) is a New York limited liability company with its principal place of business in
Buffalo, New York.

6. Upon information and belief, defendant Nicholas Youngson (“Youngson”) is a
natural person residing at 9 Lyndale Court, Winsford, CW73BZ, England.

7. Upon information and belief, Matthew K. Higbee, Esq. (“Matthew Higbee”) is
a natural person residing in the State of California and is licensed to practice law in the
State of California.

8. Upon information and belief, defendant Higbee & Associates is a law firm
with its principal place of business located at 1504 Brookhollow Drive, Suite 112 in
Santa Ana, California.

9. Defendant Matthew K. Higbee is the Founding Attorney of Higbee &
Associates.

10. Upon information and belief, defendant RM Media, Ltd. (“RM Media”) is a
company registered in the United Kingdom and owned in whole or in part by defendant
Youngson.

11. | RM Media conducts business throughout the Unites States via the internet.

12. RM Media is controlled and/or operated by Higbee & Associates and/or
Matthew Higbee.

13. Upon information and belief, Youngson and RM Media have
assigned full power of attorney to defendant Higbee & Associates. See Exhibit A.

14. The aforesaid assignment facilitates defendants’ fraudulent scheme.

15. Upon information and belief, at all relevant times herein, defendants acted

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in concert together to perpetrate a deceptive and fraudulent scheme against plaintiff and
many others by which they generated enormous sums of money.

16.  Atall times relevant herein, defendants’ actions occurred in the United States
and, in particular, within the State of New York.

17. This court has subject matter jurisdiction over this matter pursuant to
Title 28 of the United States Code, § 1338(a) because this matter arises under the copyright
laws of the United States (17 U.S.C. §§ 101 et seq.), the Declaratory Judgment Act
(28 U.S.C. §§ 2201, 2202), and the Racketeer Influenced and Corrupt Organizations Act
(18 U.S.C. §§ 1961 et seq.).

18. This court also has subject matter jurisdiction over this matter pursuant to
28 U.S.C. § 1332 because plaintiffs principal place of business is in the State of New York,
Matthew Higbee is a citizen of the State of California, Higbee & Associates has its principal
place of business in the State of California, defendant Youngson is a citizen of the
United Kingdom, defendant RM Media has its principal place of business in the
United Kingdom, and the amount in controversy exceeds $75,000.00.

19. This court has personal jurisdiction over defendants because at all relevant
times defendants engaged in business in the State of New York, and plaintiff's claims arise
from this business within the State of New York.

20. In addition, defendants consistently and repeatedly use the internet.

21. Defendants consistently and repeatedly use the United States Postal Service,
directing their mailed communications into the State of New York.

22. This court also has personal jurisdiction over defendants because their
consistent and prolonged use of the internet and the United States Postal Service

constitutes sufficient minimum contacts with New York State.

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23. Venue is proper proper pursuant to 28 U.S.C. § 1391(b)(2) because a
substantial part of the actions which give rise to plaintiff's claim occurred within the
Western District of the New York.

BACKGROUND FACTS AND CIRCUMSTANCES

24. | The Coppola Firm is a New York-certified woman-owned business that
provides legal services to individuals, businesses, and organizations throughout the State of
New York.

25. |Asacomplement to its law practice, The Coppola Firm posts educational blog
posts online at www.coppola-firm.com which are intended to educate the public about
changes in the law. The blog posts typically are published on the Firm’s website then
shared to social media.

26. Often, The Coppola Firm posts a relevant image along with the blog post.

27. | The Coppola Firm generally does not generate revenue through its blog
posts.

28. | The Firm has strict rules that all images used by the Firm must be owned by
the Firm, created by the Firm, properly licensed for use by the Firm, or be royalty-free.

29. Prior to beginning its blog, the Firm consulted with industry professionals to
ensure that its mechanism for obtaining royalty-free images did not run afoul of United
States’ copyright laws.

30. After exercising this reasonable due diligence, The Coppola Firm concluded
that an image obtained through an advanced search filtered specifically for images labeled
with the usage rights “free to use, share or modify, even commercially,” were free to be

used without attribution.
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31. Thus, when an image was labeled “free to use, share or modify, even
commercially,” the Firm may post such an image to its blog without attribution and without
a license agreement for the image because the Firm understood the image to be “free to

”

use.

32. This is precisely the manner in which the Firm located and decided to use the
five images that are the subject of this litigation (the “Images”). See Exhibit B.

33. Each of the subject images was optimized to appear at the top of an advanced
image search filtered for images that were specifically labeled with the usage rights “free to
use, share or modify, even commercially.” See Exhibit C.

34. Given the Firm’s diligence, it was shocked to receive a demand letter from
defendants in March of 2019. In that letter, defendants demanded payment in the amount
of $9,200.00 because, they alleged, The Coppola Firm had not purchased a license to use
the Images. The letter included a credit card authorization from to quickly process the
demanded $9,200.00 payment. Defendants offered no explanation about how they arrived
at the $9,200.00 demand.

35. In response to defendants’ demand letter, The Coppola Firm hired legal
counsel to evaluate its rights surrounding the purported claim which arose from
defendants’ deception of the Firm.

36. In an abundance of caution, The Firm also removed each of the Images from
the Firm’s website and social media.

37. | The Firm has not now and never did receive any monetary benefit as a result
of using the Images.

38. Subsequently, the Firm learned that defendant Higbee & Associates had

assigned a so-called Claims Resolution Specialist to defendants’ claim against the Firm.

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39. Without any admission of liability and purely as a business accommodation,
the Firm’s legal counsel attempted to negotiate a settlement with defendants’

Claims Resolution Specialist, specifically emphasizing the many reasons why defendants
did not have a valid claim for copyright infringement against the Firm.

40. Each of the Firm’s settlement offers was rejected.

41. Instead, defendants threatened legal action seeking damages up to
$150,000.00.

42. In threatening legal action, defendants used the United States Postal Service
to transmit to the Firm and/or its agent a purported draft complaint seeking $150,000.00
in damages as well attorneys’ fees and costs. Defendants gave the Firm just 15 days to
settle the claim or be sued.

43. Upon information and belief, defendants used this high-pressure tactic to
extract payment from The Coppola Firm even though payment was not rightfully owed to
defendants.

44. Concerned by the blatant fraud and extortion being perpetrated by
defendants, the Firm researched the defendants and learned that the Firm was only one of
many victims tricked into using one of the Images because it was portrayed as “free-to-use”
online and affirmatively pushed by defendants or their agents to the top of common web
searches.

45. Among the victims were many businesses and individuals including at least
one other law firm in New York State. See, e.g., Meyer, Suozzi, English & Klein, P.C. v. Higbee,
et al, Docket No. 18-CV-03353 (E.D.N.Y).

46. At all times, each of the Images was, in fact, made available online by

defendants for free, even for commercial re-use. See Exhibit D.

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47. To the extent the Firm used the Images without attribution, it did so
unintentionally and only because defendants deceived the Firm into believing the Images
were free to use, share or modify, even commercially, without attribution.

48. Defendants have no valid basis on which to claim copyright infringement
because it labeled its photos as “free-to-use.”

49. Defendants have no valid basis on which to claim copyright infringement
because the Images are garden-variety, mass produced within minimal alterations, and not
sufficiently creative to warrant copyright protection.

50. Upon information and belief, at all relevant times defendants have been
aware that they do not have a valid claim of copyright infringement against The Firm.

51. Upon information and belief, defendants structure their internet presence in
a way that intentionally lures consumers into thinking they are free to use defendants’
images and then extorts the deceived consumers to make a profit.

52. Defendants’ business practices are fraudulent and in violation of

N.Y. General Bus. Law § 349.

FIRST CAUSE OF ACTION
FOR DECLARATORY RELIEF OF NON-INFRINGEMENT

53. Plaintiff repeats and realleges the foregoing allegations as if fully set forth
herein.

54. There is a substantial and actual controversy between plaintiff and
defendants that warrants specific relief by a decree by this Court.

55. Defendants have improperly alleged that plaintiff has infringed on its

copyright.
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56. Through its improper conduct, defendants have attempted to extort money
damages from The Coppola Firm.

57. Defendants are not entitled to copyright protection because they made the
Images available to plaintiff as “free-for-reuse.”

58. Defendants are not entitled to copyright protection because plaintiff hada
license to use the Images.

59. Defendants are not entitled to copyright protection because they caused
plaintiff to believe it could use the Images without license and without attribution.

60. Defendants are not entitled to copyright protection because the Images are
not sufficiently creative to warrant protection. Indeed, defendants take an image of a
common item such as a highway sign or clipboard and then add a single word or phrase to
it. The word or phrase is then modified to create a multitude of images each of which
entirely lack creativity.

61. Defendants are not entitled to copyright protection because
The Coppola Firm’s use of the Images constitutes fair use.

62. Adeclaratory judgment is necessary to resolve, settle, and clarify the
controversy between plaintiff and defendants.

63. Plaintiff therefore requests that the Court issue a declaration that plaintiffs
use of the Images was not copyright infringement as a matter of law, and defendants
cannot sustain a claim against The Coppola Firm for copyright infringement on account of

the Firm’s use of the Images.
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SECOND CAUSE OF ACTION
FOR INJUNCTIVE AND COMPENSATORY RELIEF
UNDER THE RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS ACT

64. Plaintiff repeats and realleges each of the preceding paragraphs as though
fully set forth herein.

65. Defendants’ conduct, namely their fraudulent scheme by which they falsely
represent that they have a valid copyright claim and then send threats through the
United States Postal Service to extort money from victims, violates 18 U.S.C § 1341.

66. Upon information and belief, defendants have threatened hundreds, if not
thousands, of victims through their use of the United States Postal Service in order to extort
payment for fraudulent claims of copyright infringement.

67. Defendants’ violation of 18 U.S.C § 1341 qualifies as racketeering activity as
defined by 18 U.S.C. § 1961(1) and made unlawful by 18 U.S.C. § 1962.

68. Defendants acted in concert to either aid, abet, counsel and/or command the
actions that violated 18 U.S.C § 1341, and as a result, each defendant is a principal as
described by 18 U.S.C. § 2.

69. Specifically, defendants Matthew Higbee and Higbee & Associates demanded,
through the use of the United States Postal Service, payment on copyright infringement
claims that they knew were not legally enforceable.

70. | Upon information and belief, defendants Matthew Higbee and Higbee &
Associates counseled defendants Youngson and RM Media to join them in this pattern of
racketeering.

71. | Upon information and belief, defendants Youngson and RM Media either
commanded or aided and abetted the violations 18 U.S.C § 1341 by making Higbee &

Associates their power of attorney.

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72. Upon information and belief, defendants conspired to violate 18 U.S.C § 1341
when defendants agreed to orchestrate a scheme that manufactured meritless copyright
infringement claims so that defendant Matthew Higbee and his law firm could extort
victims in order to make a profit. Moreover, defendants Matthew Higbee and Higbee &
Associates overtly acted in furtherance of the conspiracy when they sent threatening
demand letters using the United States Postal Service.

73. Likewise, defendants RM Media and Youngson overtly acted in furtherance of
the conspiracy when they assigned Higbee & Associates as their power of attorney.

74. | Upon information and belief, defendants have derived substantial income,
either directly or indirectly, through their pattern of racketeering activity in violation of
18 U.S.C. § 1962.

75. Defendants Higbee & Associates and RM Media each is engaged in, or
engaged in activities that affect, interstate commerce and are enterprises as defined by
18 U.S.C. § 1961(4).

76. | Upon information and belief, each individual defendant either is employed by
or associated with defendants Higbee & Associates and/or RM Media and also engaged in
those enterprises’ affairs through a pattern of racketeering as described herein.

77. | Upon information and belief, one or more defendants have directly or
indirectly used or invested the income described herein to either acquire an interest in, or
establish operation of, defendants Higbee & Associates, RM Media, or another enterprise
that is or has been engaged in activities that affect interstate commerce.

78. | Upon information and belief, defendants, through their pattern of

racketeering activity, either directly or indirectly acquired or maintained an interest in or

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control defendants Higbee & Associates, RM Media, or another enterprise that is or has
been engaged in activities that affect interstate commerce.

79. Plaintiff's business has been damaged by reason of defendants’ substantive
violations of 18 U.S.C. § 1962.

80. Plaintiff therefore requests pursuant to 18 U.S.C. § 1964(a) that the Court
restrain defendants’ violations of 18 U.S.C. § 1962 by issuing an order that defendant
Matthew Higbee divest himself of any direct or indirect interest in defendants Higbee &
Associates, RM Media, and any other enterprise discovered to have been used by defendant
Matthew Higbee in his pattern of racketeering and fraud.

81. ‘Plaintiff further requests pursuant to 18 U.S.C. § 1964(a) that the Court
restrain defendants’ violations of 18 U.S.C. § 1962 by issuing an order defendant Youngson
divest himself of any direct or indirect interest in defendant RM Media and any other
enterprise discovered to have been used by defendant Youngson in his pattern of
racketeering and fraud.

82. Plaintiff further requests that the Court impose reasonable restrictions on
defendants Higbee and Youngson prohibiting them from engaging in a similar racketeering
endeavor in the future.

83. Finally, plaintiff requests that the Court order dissolution of defendants
Higbee & Associates and RM Media.

84. Pursuant to 18 U.S.C. § 1964(c), plaintiff demands treble damages in amount
to be determined by a jury as well as the costs of this litigation including reasonable

attorneys’ fees.

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THIRD CAUSE OF ACTION
FOR INJUNCTIVE AND COMPENSATORY RELIEF
UNDER NEW YORK GENERAL BUSINESS LAW § 349
85. Plaintiff repeats and realleges each of the preceding allegations as if fully set

forth herein.

86. Deceptive business practices are unlawful in New York State pursuant to
New York General Bus. L. § 349.

87. Defendants have engaged in deceptive business practices within the State of
New York.

88. Defendants’ actions are in violation of NY General Bus. Law § 349.

89. Defendants knowingly and willfully violated of NY General Bus. Law § 349.

90. Byreason of defendants’ deceptive business practices, plaintiff has been
damaged in an amount exceeding $1,000.00.

91. By reason of the foregoing, plaintiff is entitled damages from defendants,
jointly and severally, in an amount to be determined at trial, which shall include but not be
limited to plaintiff's attorneys’ fees.

WHEREFORE, The Coppola Firm respectfully requests that the Court:

A. Declare that plaintiffs use of the Images allegedly under license did not and
does not constitute copyright infringement as a matter of law;

B. Declare that defendants cannot sustain a claim against The Coppola Firm for
copyright infringement because of the Firm’s use of the Images;

C. Award plaintiff money damages as against defendants, jointly and severally,
including the costs and expenses of this litigation, together with reasonable attorneys’ fees

as set forth in 17 U.S.C. § 505 and New York General Business Law § 349(h);

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D. Order that defendant Higbee divest himself of any direct or indirect interest
in defendants Higbee & Associates and RM Media and any other enterprise discovered to
have been used by defendant Higbee in his pattern of racketeering and fraud;

E. Order that defendant Youngson divest himself of any direct or indirect
interest in defendant RM Media and any other enterprise discovered to have been used by
defendant Youngson in his pattern of racketeering and fraud;

F, Order the imposition of reasonable restrictions on defendants Higbee and
Youngson prohibiting them from engaging in a similar racketeering endeavor in the future;

G. Order the dissolution of defendant Higbee & Associates and of defendant
RM Media; and

H. Award plaintiff such other and further relief as the Court deems just and
proper.

PLAINTIFF RESPECTFULLY DEMANDS A TRIAL BY JURY

Plaintiff demands a trial by jury of all issues so triable pursuant to Rule 38 of the

Federal Rules of Civil Procedure.

Dated: Buffalo, New York
May 24, 2019

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By:

 

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VERIFICATION

STATE OF NEW YORK }
COUNTY OF ERIE ) ~

Lisa A. Coppola, Esq., being duly sworn, deposes and says that she is the sole
member and managing partner of Lisa Coppola LLC d/b/a The Coppola Firm, the New York
limited liability company named in the within entitled action; that she has read the verified
complaint and knows the contents thereof; and that the same is true to her own knowledge,
except as to those matters therein stated to be alleged upon information and belief, and as

to those matters she believes them to be true.

Deponent further says that the reason this verification is made by deponent and not
by The Coppola Firm is because The Coppola Firm is a limited liability company, and the
grounds of deponent’s belief as to all matters in the verified complaint not stated on her
own knowledge, are investigations which deponent has caused to be made concerning the
subject matter of this verified complaint and information acquired by deponent in the
course of her duties as a member of the limited liability company and from the books and

papers of the company. ae

Lisa A. Coppola, Esq.

Sworn to before me this
24th day of May, 2019.
COLLEEN J. FELDT

Notary Public, State of New York
++ Qualified in Erie County
Notary Public My Commission Expires Mar. 24 od

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